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                            UNITED STATES DISTRICT COURT

                NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION


ALENA KRILEY,                             ) CASE NO. 22 CV 04832
                                          )
                     Plaintiff,           )
                                          )
vs.                                       ) ASSIGNED JUDGE: Martha M. Pacold
                                          ) MAGISTRATE JUDGE: Jeffrey Cole
PAUL KRILEY,                              )
                                          )
                     Defendant.           )


      JOINT STATUS REPORT AND DISPOSITIVE MOTION SCHEDULE

   The parties have completed discovery and have participated in settlement
conference, a resolution of this cause not having yet been made:

     The parties agree plaintiff shall have 28 days to file her motion for summary
judgment and defendant 28 days to respond and plaintiff 14 days to reply.




                                  Respectfully submitted,

                                      /s/ Scott Ferrill
                                   Attorney for Plaintiff

                                    /s/ Jason G. Shore
                                   Attorney for Plaintiff
